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mol<?zo!'lr~mi¥¥? U..S Banlorupt¢y judge
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
F()RT WORTH DIVISION

INRE:

LATITUDE SOLUTIONS, INC. CASE NO. 12-46295-rfn-1 1

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DEBTOR.

ORDER APPROVING EMPLOYMENT OF SPECIAL
LITIGATION COUNSEL FOR CHAPTER 11 TRUSTEE

On October l, 20]4, this' Court held a hearing on the Application to Employ Special
Litigation Counsel for Chapter 11 Trustee (Dkt. No. 220, the “Application”) in the above~
referenced case. The Couit, having considered the Application and noting that proper notice of

the Application and hearing Was given to all necessary palties, finds as follows:

1. On November 9, 2012, Latitude Solutions, Inc, (the “Debtor”) filed a voluntary
petition in this Court for relief under chapter 7 of the United States Bankruptcy Code. Carey

Ebert (the “Trustee”) Was appointed the chapter 7 tinstee. On April 5, 2013, this Court entered

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an order converting the case to chapter ll. The Trustee Was appointed the chapter ll trustee,
and she continues to serve in that capacity.

2. The Trustee filed the Application seeking this Court’s approval to employ
Walters, Papillion, 'l`homas, Cullens, LLC, the Broyles Law Firm, LLC, the Anderson Firm,
LLC, and Haynes and Boone LLP (collectively, the “Firms”) as special litigation counsel on a
contingent fee agreement described in the Application.

3. The Firms meet the criteria for employment of counsel and have complied With
the requirements of sections 327 and 328 of the Bankruptcy Code and Banl<:ruptcy Rule 2014.
The Court finds and concludes that the Finns are disinterested and do not hold or represent any
interest adverse to the Debtor’s bankruptcy estate.

4. The Trustee’s proposed employment of the Firrns, on the terms set forth in the
Application, is appropriate and in the best interest of the Debtor’s bankruptcy estate

5. Pursuant to section lOZ(l) of the Bankruptcy Code, the notice and opportunity for
a hearing provided in connection With the Application and this Order Were appropriate under the
circumstances of this case.

IT IS THEREFORE ORDERED that the Application is granted

IT IS FURTHER ORDERED that the Trustee’s proposed employment of the Firms as
special litigation counsel on the terms Set forth in the Application is hereby approved, effective
as of September l7, 20l4.

###End of Order###

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